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                               SO UTH ERN DISTRICT O F FLO RID A

                             CASE NO.18-CR-20685-W lLLIAM S(s)(s)

    UN ITED STATES O F AM ER IC A
    V.

    CARM ELO ANTONIO URDANETA AQUI,
           D efendant.
                                               /


                                        FA CTU AL PRO FFER

           TheUnitedStatesofAmericaandCarmeloAntonioURDANETA Aqui(thettdefendanf')
    stipulate and agree thatthe inform ation stated herein is true and accurate and sufficientbasis for

    the defendant'splea ofguilty to the m oney laundering conspiracy in violation ofTitle 18,U nited

    StatesCode,Section 1956(h)chargedintheinstantcaseandtheforfeitureoftheassetsidentified
    in the Second Superseding Infonuation.H ad thism atterproceeded to trial,the defendantstipulatçs

    and agrees thatthe govem m entwould have proven the facts'alleged below beyond a reasonable

    doubt.

                   From in oraround January 1997 to in oraround A ugust2015,the defendantheld

    various positions atthe Venezuelan M inistry of Oil(the ççoil Ministr/),which was the
    V enezuelan m inistry responsible forthe oversightofthe country's state-ow ned and controlled oi1

    entity,PetröleosdeVenezuela,S.A.($TDVSA'').lnparticular,from in oraroundApril2009to
    in or around A ugust 2015,the defehdantserved as LegalCounselof the Oil M inistry. At a1l

    relevanttim es,the PresidentofV enezuela appointed the officersand directors ofPDV SA,which

    w as responsible for,am ong other things,the exploration,production,refm ing,transportation,

    m arketing,and trade in energy resources in V enezuela and also provided funding for other
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    operationsofthe V enezuelan governm ent. D uring the relevantperiod,PDV SA had a significant

    operating budgetand aw arded billionsofU .S.dollars'worth ofcontracts each year. PDV SA w as

    alsoVenezuela'sprimarysourceofincomeandforeigncurrency(namely,U.S.dollarsàndEuros),
    and served asthesource offoreign currency used to fundseveralcom zptforeign exchangeschem es.

                   Starting in or around 2012,the defendantand others engaged in various foreign

    currency exchange schem es using loan contractswith PDV SA thatw ere unlawfully obtained via

    bribes and kickbacks. These schem es exploited the Republic of Venezuela's fixed foreign

     cunency exchange rate,which valued V enezuelan Bolivarsartificially high com pared to the open

     foreign currency exchange m arket. ln exchange forhisparticipation,including llis facilitation of

    paym ents to co-conspirators,the defendantreceived a portion ofthe illicitloan proceeds. The

     defendant laundered the proceeds of the conuptly obtained loan proceeds through a series of

     financialaccounts,transfening,orcausing thetransferotlcriminally derivedproceedsin several
    transactionsinvolving greaterthan $10,000inU.S.currencytopurchaserealestate,am ong other

     assets,in theSoutherp DistrictofFloridaandPanam a.

                                      CO M PAN IES C-D LOAN SCHEM E

                   For exam ple, in or around 2012, the defendant, Abraham Edgardo O rtega

     Cr rtega''l,Francisco ConvitGunzceaga(ttConvit''),Co-conspirator1(who wasaVenezuelan
     oftkial),Co-conspirator2,VenezuelanOfficial1,VenezuelanOfficial4,VenezuelanOfficial6,
     Subject4,Subject5,andan individualwholaterbecameaCooperating SourceC&CS''),among
     others,conspired to execute a com lpt foreign currency exchange schem e involving bribes to

     PDVSA officials,includingOrtega,Co-conspirator1,andVenezuelanOfficials1,4,and6(the
     tfompaniesC-D LoanScheme'').
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            4.     A spartofthe Com panies C-D Loan Schem e,in oraround M arch 2012,Company

    D obtained a loan contract w ith PDV SA wherein Com pany D agreed to loan PDV SA

    approxim ately 17.4 billion Venezuelan Bolivarsin m ultipletranches.U nderthiscontract,PD V SA

    would repay the loan to Com pany D in U .S.dollars ata foreign currency exchange rate thatwas

    fixed by the V enezuelan governm ent. A fter Com pany D entered into the PDV SA loan contract,

    Com pany D reassigned itsrightsundertheloan contractto a non-venezuelan entity,Company C.

    Com pany C laterreassigned itsrightsunderthe loan contractto anotherforeign entity,Company

    E.

            5.     Tllrough the CompaniesC-D Loan Schem e,the defendantand othersw ere able to

    obtain access to a Republic of V enezuela fixed foreign currency exchange rate,which valued

    V enezuelan Bolivars artificially high compared to the open foreign currency exchange m arket.

     Com pany C,and later Com pany E,w ere able to exploitthe difference betw een the tw o foreign

    currency exchange rates. Specifically, Com pany C, and later Com pany E,w ere able to buy

    V enezuelan Bolivarson the open m arketusing a relatively sm allam ountofforeign currency,loan

    the Bolivars to PDV SA , and be reimbursed for the loan in foreign currency at the official,

     artitk ially high fixed foreign currency exchangerate,resultingin billionsofU .S.dollarsin profits.

     A signitk antportion ofthoseprofitswasused to pay bribesto thoseinvolved in preparing theloan

     contractand in the approvalprocess,including to the defendant.

            6.     In exchange forhis role in creating the legalm echanism by which the Companies

     C-D LoanSchemeoperatedanddraftingtheloanconkactattherequestofSubject4,thedefendant
     agreedto acceptapayment.OnoraboutJune8,2012,approximately$25millioninU.S.currency
     w as transferred from a Swiss accountheld in the nam e ofCom pany E to an accountatanother

     financialinstitutioninSwitzerlandheldinthenameofVilleFlorHoldingSA (EEVil1eFlorAccount


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    1''),whichwasassociatedwiththedefendant.Thedefendantunderstoodatleastaportionofthis
    transferconstituted apaym entforhisparticipation in the Com panies C-D Loan Schem e.

                  Ville Flor Holding SA C'Ville F1or'') was a Panamanian company,and the
    defendantused V illeFlorA ccount1and otheraccountsto,am ong otheracts,receive,concealand

    launder proceeds obtained from cornzpt foreign exchange schem es to purchase assets in the

    Southem D istrictofFlorida and elsewhere.

           8.     For exam ple,pal4 ofthe crim inalproceeds that the defendant obtained from the

    Com paniesC-D Loan Schem e w as used to fund the purchase of Condom inium Unit2205 atthe

    PorscheDesignTower(çEunit2205''),whichwaslocated at18555CollinsAvenue,Sunny Isles
    Beach, Florida 33160. On or about both Febnzary 6, 2013, and M ay 6, 2013, a total of

    approximately $530,000 in U.S.currency derived from the Companies C-D Loan Scheme was
    transferred from VilleFlorAccount1to arealestate titlecompany accountin theSouthenzDistrict

    of Florida as the firstand third deposits for the purchase of Unit2205. The second depositof

    $530,000wasfunded via atransferfrom an attom ey tnlstaccount,which had received the same
    sum from proceedsofthe Com paniesC-D Loan Schem eheld in V illeFlorA ccount1in oraround

    August2012. In total,the defendanttransferred,orcaused to be transferred,to an accountin the

    Southem DistrictofFloridaatleast$1,590,000 inU.S.currencytraceabletothecrim inalproceeds
    of the Com panies C-D Loan Schem e to purchase U nit 2205. The defendantlcnew that these

    transactionsto the Soùthern D istrictofFlorida to purchaseUnit2205 involved crim inally derived

    proceedsofavaluegreaterthan $10,000.
           9.     Between in oraround Febrtlary 2013 and in oraround N ovem ber2013,the balance

    of the crim inally derived funds in Ville Flor Account 1 w as transferred to account num ber

    C1-13008609106086470003,also referred to as accountnumber 10.608647,atBanca Zarattini&


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    Co.inSwitzerlandheldinthenameofVilleFlor(thettzarattiniVilleFlorAccounf),whichwas
    associated with the defendant.

                                     EA TON -R ANTOR LOAN SCHEM E

           10.    After the Com panies C-D Loan Schem e,the defendant conspired w ith others,

    including V enezuela O fficial 1,Convit,and Co-conspirators 1,2,3,and 7,in another conupt

    foreign exchangeschem einvolvinga loan contractw ith PDV SA .On oraboutD ecem ber17,2014,

    RantorCapitalC.A.(çERantor''),aVenezuelanshellcompany,executedacontractwithPDVSA in
    which Rantoragreed to loan 7.2 billion V enezuelan Bolivarsto PDV SA . On oraboutD ecem ber

    23,2014,an assignm entcontractwasexecuted between Rantorand Eaton G lobalServicesLim ited

    (d(Eaton''),in which Rantorassigned itsrightsasPDVSA'Screditorundertheloan contractto
    Eatonand in which PDVSA wasgiven therighttocancelthedebtwithin 180 daysbypaying$600

    millioninU.S.currency(theçdEaton-ltantorLoanScheme'').SimilartotheCompaniesC-D Loan
    Schem e,the Eaton-RantorLoan Schem e enabled the defendantand his co-conspirators to obtain

    access to the Venezuelan govem m ent's fixed foreign currency exchange rate, which valued

    Venezuelan Bolivars artificially high compared to the rate available on the open m arket.They

    exploited thedifferencebetween thetw o foreign currency exchangerates,resulting in hundredsof

    m illionsofU.S.dollarsin profits.

           11.    In short,Eaton,a com pany controlledby m em bersofthe conspiracy,ended up w ith

    therightto loan PDVSA about7.2 billionBolivars(worth around $50million inU.S.currency
    basedontheopenmarketexchangerate)andtoberepaid$600millioninU.S.currency,basedon
    an officialfixed exchange rate,when the debtwas cancelled,pocketing profits of approxim ately

    $550 million inU.S.currency.A significantportion ofthoseillicitprofitswerepaid asbribesto
    those involved in obtaining the loan contracts,including thedefendant,w ho agreed notto interfere


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    in the loan approvalprocessand to distribute the ftmdsto som e ofthe co-conspiratorsinvolved in

    approving the contract.

                  In furtherance of the schem e,V enezuelan Official 1 and officials took acts and

    m adedecisionsin theirofficialcapacitiesto facilitate theEaton-RantorLoan Schem ein exchange

    for receiving bribes. M em bers of the conspiracy gave cash bribes to V enezuelan Official 1 in

    exchange forV enezuelan O fficial1 signing the loan contractin hiscapacity asVice Presidentof

    PDV SA . The governm entwould prove thatone orm ore m em bersofthe conspiracy took stepsin

    furtherance ofthebribery schem ew hile physically presentin the United States. The m em bersof

    the conspiracy agreed to split up the net proceeds of the Eaton-Rantor Loan Schem e with

    approximatelyhalf,or6227millioninEuros,goingtotheçsBolichicos''(thenew bourgeoiscreated
    by theChavez Administration),ofwhich Convitwasamember. ln oraboutFebruary 2015,
    approxim ately f23 m illion ofthe f227 m illion in Eurosw astransferred to the ZarattiniV ille Flor

    Accotmt. Thevalue ofthef23 million in U.S.dollarswasapproximately $24,265,050.85based
    on a currency exchangethatoccurred in theZarattiniVilleFlorAccountshortly afterthe transfer.

           13.     On or about N ovem ber 16, 2015, and on or about Novem ber 27, 2015,

    approximately$300,000and$2.88million,respectively,weretransferredintwotransactionsfrom
    the ZarattiniV ille Flor A ccount to another real estate title com pany account in the Southern

    D istrictofFlorida. These fundswere used to purchase Apartm entA and Apartm ents B-F at225

    27thStreet,MiamiBeach,Florida33140(theQdMiamiBeachApartments'),whichwerewithinthe
    Southem D istrictofFlorida. The defendantlcnew thatthese transactionsto purchase the M iam i

    BeachApartm entsinvolvedcriminallyderived proceedsofavaluegreaterthan$10,000.
                   A s partof their efforts to distribute the Eaton-Rantor Loan Schem e proceeds,

    Convitand the defendanteach m etseparately w ith the CS. Convitthereafter caused the transfer


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    of a significant portion of the Eaton-Rantor Loan Schem e proceeds from European Financial

    Institution 1 to an accountbelonging to a trtzst,ofw hich the CS was the ultim ate beneficialy.To

    justifythetransfers,ConvitsenttheCS afalsejointvenmrecontractbetweenEatonandtheCS's
    trust,with a forged trustee's signature. Betw een in or around January 2015 and in or around

    Febrtlary 2015,the accountheld by the CS's tlustreceived approxim ately f78.8 m illion in Euros

    via fourseparatew ire transfers.

           15.     Starting in or around January 2015, in recorded conversations and BlackBerly

    M essengerchats,Convitand the defendanteach discussed separately with the CS the CS'sreceipt

    ofproceeds from the Eaton-Rantor Loan Schem e,and instructed the CS on how to handle the

    funds. ln oraround A pril2015,the CS began m aking cash paym entsin V enezuela and elsewhere

    atthe direction of the defendantand Co-conspirator 1,including to the defendant,Venezuelan

    O fficial1,and Co-conspirator 1.

           16.     Starting in or around October 2016,the defendant directed the CS to transfer

     approximately $11 million in U.S.currency of the 678.8 million in Euros in the following

    transactionstoacquirecondominium unitsinPanama(collectively,theçlpanamaniancondos'l:
             (i) ln or around M ay 2015,approximately $9,501,021.42 in U.S.cuaency was
             transferred forthepurchase ofApartm ents2-A ,2-B,3-B,5-B,6-B,7-B,8-A ,11-A ,and

             11-B at the Residencial Santa M aria Signature in Panam a in the nam e of M iglior

             Investimentos,S.A.(slMigliorlnvestimentos'),aPanamaniancompany;
            (ii) Between in or around October 2016 and in or around November 2016,
             approxim ately $300,020 in U.S.currency and approxim ately $310,020 in U.S.currency
             w eretransferred forthepurchasesofApartm entNo.24-021and Apartm entN o.24-011,
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             respectively, at the Residencial Costam are in Panam a in the nam e of M iglior

             Investim entos;and

           (iii) ln or around Janualy 2017, approximately $900,020 in U.S. currency was
             transferred forthepurchaseofNum ber3 atV istam arGolfVillage in Panam ain thenam e

             ofM igliorlnvestim entos.

                  The defendantalso instnzcted the CS to m eetw ith otherco-conspirators,including

    JoseVincenteAmparanCroquer(ddAmparan'')palsoknownastdchente,''andHugoGois(çtGois'')1
    to launderthedefendant'sportion oftheproceedsfrom theEaton-RantorLoan Scheme.In order

    to convince the CS to m eet with Am paran and Gois,the defendant told the CS that he had

    transferred Unit2205 asa laundering fee to Am paran. In reality thisw asnota laundering fee for

    Am paran,and the defendantsoughtA mparan's assistance in selling Unit2205. To thatend,the

    defendant caused U nit 2205 to be titled in the nam e of Paladium Real Estate Group, LLC

    (ttpaladium''),aFloridalimitedliabilitycompany,and inoraroundSeptember2016,Amparan's
    relativebecam ePaladium 'sm anager.

           18.    ln oraround late 2016 or early 2017,the defendantm etw ith A m paran,Gois,and

    Co-conspirators 5 and 6 in M adrid,Spain. Gois and Co-conspirators 5 and 6 agreed with the

    defendanttolaundertheremainingEaton-RantorLoan Schemeproceedsbeingheld by the CS.
           19.    In furtherance ofthatagreem ent,on or aboutM arch 1,2017,during a recorded

    m eeting,the defendantm etw ith Am paran,Gois,the CS,and Co-conspirator5 atthe oftices of

    European Com pany 1in M adrid,Spain. Atthem eeting,Goisand thedefendantinstructed the CS

    touseEaton-RantorLoanSchemeproceedstopurchaseaU.K.gilt(governmentbond)thatwould
    betransferredtoanaccountatValburyCapitalLtd.($tVa1bu1y'')inLondon,wherethegiltwould
     then be sw apped w ith a fake bond. In or around April2017,at the request of Gois and the
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    defendant,the CS purchased aU .K.giltforapproxim ately 66 m illion Etlros,using fundstraceable

    to the Eaton-RantorLoan Schem e. The giltw asthen deposited into a Valbury account.

                                            CON CLU SION

            20.    D uring a1lrelevanttim es,thedefendantlcnew thathe wasparticipating in an illegal

    m oney laundering conspiracy and that the funds he soughtto concealand transactin w ere the

    proceedsofcrim inalactivity.

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